Information to identify the case:
Debtor 1              Daryl L. Shackelford                                               Social Security number or ITIN        xxx−xx−3969
                      First Name   Middle Name     Last Name                             EIN _ _−_ _ _ _ _ _ _
Debtor 2              Nicol M. Selmon−Shackelford                                        Social Security number or ITIN        xxx−xx−3544
(Spouse, if filing)
                      First Name   Middle Name     Last Name                             EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Eastern District of Michigan
                                                                                         Date case filed for chapter 7 3/5/21
Case number:          21−41862−mar


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             10/20

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

The court will dismiss this case without a hearing if the debtor(s) do not timely file all the required documents and if no
request for a hearing on dismissal is filed within 21 days after the petition is filed. The Clerk will give notice of the
hearing on dismissal only to the party requesting the hearing, the debtor and the trustee.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Daryl L. Shackelford                                Nicol M. Selmon−Shackelford

2.      All other names used in the                                                                  aka Nicol M. Selmon
        last 8 years

3.     Address                               8836 Woodbine                                           8836 Woodbine
                                             Redford, MI 48239                                       Redford, MI 48239

4.     Debtor's attorney                         Charles J. Schneider                               Contact phone: (734) 591−4890
                                                 39319 Plymouth Rd.
       Name and address                          Suite 1
                                                 Livonia, MI 48150

5.     Bankruptcy trustee                        Karen E. Evangelista                               Contact phone: 248−652−7992
                                                 410 West University
       Name and address                          Suite 225
                                                 Rochester, MI 48307
                                                                                                               For more information, see page 2 >
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Debtor Daryl L. Shackelford and Nicol M. Selmon−Shackelford                                                Case number 21−41862−mar


6. Bankruptcy clerk's office                     Address of the      For the Court:
                                                 Bankruptcy          Clerk of the Bankruptcy Court:
   Documents in this case may be filed at        Clerk's Office:     Todd M. Stickle
   this address. You may inspect all records 211 West Fort
   filed in this case at this office or register Street
   online at https://pacer.uscourts.gov.                             Hours open:
                                                 Detroit, MI         8:30am−4:00pm Monday−Friday
                                                 48226
                                                                     Date: 3/5/21
                                              Contact phone:
                                              313−234−0065

7. Meeting of creditors                       BY                     Trustee: Karen E. Evangelista
                                              TELEPHONE:             Call in number:
   Debtors must attend the meeting to be                             https://www.kevangelistalaw.com/practice−areas/bankruptcy−trustee/
   questioned under oath. In a joint case,    April 14, 2021         Passcode:
   both spouses must attend. Creditors may    at 08:30 AM
   attend, but are not required to do so.

                                              The meeting
                                              may be
                                              continued or
                                              adjourned to a
                                              later date. If so,
                                              the date will be
                                              on the court
                                              docket.

8. Presumption of abuse                       The presumption of abuse does not arise.

   If the presumption of abuse arises, you
   may have the right to file a motion to
   dismiss the case under 11 U.S.C. §
   707(b). Debtors may rebut the
   presumption by showing special
   circumstances.


9. Deadlines                                  File by the     Filing deadline: 6/14/21
                                              deadline to
   The bankruptcy clerk's office must         object to
   receive these documents and any            discharge or to
   required filing fee by the following       challenge
   deadlines.
                                              whether certain
                                              debts are
                                              dischargeable:

                                              You must file a
                                              complaint:
                                              • if you assert that
                                              the debtor is not
                                              entitled to
                                                 receive a
                                              discharge of any
                                              debts under any of
                                              the
                                                 subdivisions of
                                              11 U.S.C. §
                                              727(a)(2) through
                                              (7),
                                                 or

                                              • if you want to
                                              have a debt
                                              excepted from
                                              discharge
                                                 under 11 U.S.C §
                                              523(a)(2), (4), or
                                              (6).

                                              You must file a
                                              motion:
                                              • if you assert that
                                              the discharge
                                              should be denied
                                                 under § 727(a)(8)
                                              or (9).


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                                            Deadline to            Filing deadline: 30 days after the conclusion of the meeting of creditors
                                            object to
                                            exemptions:
                                            The law permits
                                            debtors to keep
                                            certain property as
                                            exempt. If you
                                            believe that the law
                                            does not authorize
                                            an exemption
                                            claimed, you may
                                            file an objection.


10. Proof of claim                             No property appears to be available to pay creditors. Therefore, please do not file a proof
                                               of claim now. If it later appears that assets are available to pay creditors, the clerk will
    Please do not file a proof of claim unless send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.             deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                         The law allows debtors to keep certain property as exempt. Fully exempt property will not
                                            be sold and distributed to creditors. Debtors must file a list of property claimed as
                                            exempt. You may inspect that list at the bankruptcy clerk's office or register online at
                                            https://pacer.uscourts.gov. If you believe that the law does not authorize an exemption
                                            that the debtors claim, you may file an objection. The bankruptcy clerk's office must
                                            receive the objection by the deadline to object to exemptions in line 9.
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